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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION
                           CIVIL ACTION NO. 6:17-cv-278-KKC
                                   Filed Electronically

In re: 4795 Grundy Road, Somerset, KY 42501

UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.

DELLA M. VANOVER

UNKNOWN SPOUSE OF
DELLA M. VANOVER

NEW BROS. FUNERAL HOME, INC.
D/B/A LANGE AND NEW
BROTHERS FAMILY FUNERAL
HOME, INC.,                                                                DEFENDANTS

                                    ENTRY OF DEFAULT
                                        *********

       It appearing that the complaint herein was filed on October 10, 2017; the Defendants, Della
M. Vanover and the Unknown Spouse of Della M. Vanover, have been served via appointment of
Warning Order Attorney, and that no answer or other pleading has been filed by said defendants
as required by law:

        NOW, THEREFORE, upon request of Plaintiff, default is hereby entered against the
Defendants, Della Vanover and the Unknown Spouse of Della M. Vanover, as provided in Rule
55(a), Federal Rules of Civil Procedure.

       This the ___
                29thday of ____________
                             March      2018.

                                                    ROBERT C. CARR
                                                    U. S. DISTRICT COURT CLERK
                                                    By: _________________
                                                             s/Renee Bundy
                                                           Deputy Clerk




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